Case 21-30085-hdh11 Doc 32-1 Filed 01/20/21   Entered 01/20/21 12:54:31   Page 1 of 5




                   EXHIBIT A
    Case 21-30085-hdh11 Doc 32-1 Filed 01/20/21                                       Entered 01/20/21 12:54:31   Page 2 of 5




                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                              §           CHAPTER 11
                                    §
SEA GIRT LLC,                       §           CASE NO. 21-30080-hdh11
                                    §
      DEBTOR                        §
______________________________________________________________________________

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §
OF AMERICA,                                       §                CASE NO. 21-30085-sgj11
                                                  §
        DEBTOR1                                   §


              ORDER GRANTING DEBTORS’ EMERGENCY MOTION FOR
                 JOINT ADMINISTRATION OF CHAPTER 11 CASES

        Upon consideration of the Debtors’ emergency motion for joint administration of their

Chapter 11 cases (the “Motion”) [Sea Girt Docket No. ___],3; NRA Docket No. 2],2 the Court


1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.
2
 Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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Order Directing Joint Administration of Chapter 11 Cases                                Page 1
    Case 21-30085-hdh11 Doc 32-1 Filed 01/20/21                                       Entered 01/20/21 12:54:31                    Page 3 of 5




finds that: (i) it has jurisdiction to consider the Motion and the relief requested therein pursuant

to 28 U.S.C. §§ 157(b)(2) and 1334; (ii) venue is proper before this Court pursuant to 28 U.S.C.

§§ 1408 and 1409; (iii) due and proper notice of the Motion has been provided and no other or

further notice need be provided; and (iv) the relief requested in the Motion is in the best interests

of the Debtors, their estates, and creditors. Having reviewed the Motion and having heard the

statements and evidence offered in support of the relief requested therein at a hearing before this

Court, the Court determines that the legal and factual bases set forth in the Motion and at the

hearing establish just cause for the relief granted herein. Accordingly, it is hereby ORDERED

that:

        1.      The Motion is GRANTED as set forth herein.

        2.      The above-captioned Chapterchapter 11 cases shall be and hereby are

consolidated for procedural purposes only and shall be jointly administered by the Court

effective as of the Petition Date. However, nothing in this Orderorder shall be deemed or

construed as directing or otherwise effecting a substantive consolidation of the above-captioned

cases or the Debtors’ estates.

        3.      The approved caption of the jointly administered cases shall be:

                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IN RE:                                            §                CHAPTER 11

                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-____                        Formatted: Highlight
OF AMERICA and SEA GIRT LLC                       §
                                                  §
        DEBTORS3                                  §                JOINTLY ADMINISTERED

3
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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Order Directing Joint Administration of Chapter 11 Cases                                Page 2
   Case 21-30085-hdh11 Doc 32-1 Filed 01/20/21                              Entered 01/20/21 12:54:31   Page 4 of 5




The foregoing caption satisfies the requirements set forth in Section 342(c)(1) of the Bankruptcy

Code and Bankruptcy Rule 2002(n).

       4.      All pleadings, papers, orders, and documents (other than proofs of claim,

schedules, statements, and monthly operating reports) shall be filed and docketed in case number

21-30085. All schedules, statements, and monthly operating reports shall be filed and docketed

in the specific member case for which they are applicable. One disclosure statement and plan of

reorganization may be filed for the Debtors by any plan proponent. Hearings in these jointly

administered cases shall be joint hearings unless otherwise specified.

       5.      The Clerk shall use a single docket, creditor matrix and Master Service List, for

the filing and docketing of all orders, pleadings, papers and documents in the Debtors’ cases into

case number 21-30085. The Clerk shall maintain a separate claims register for each Debtor. An

entry shall be entered on the docket of case number 21-30085 to reflect the joint administration

of these chapter 11 cases:

               An order has been entered in accordance with Rule 1015(b) of the Federal
               Rules of Bankruptcy Procedure and Rule 1015-1 of the Local Rules of
               Bankruptcy Practice and Procedure of the United States Bankruptcy Court
               for the Northern District of Texas directing joint administration of the
               chapter 11 cases of: Sea Girt LLC, Case No. 21-30080; and National
               Rifle Association of America, Case No. 21-30085. All further pleadings
               and papers shall be filed, and all further docket entries shall be made, in
               Case No. 21-30085.

       66.     If pleadings, papers, or documents have been filed in any of the above captioned

cases other than case number 21-30085 prior to the entry of this Order, and those matters have

not yet been heard and decided, the party who filed the pleading, paper, or document shall (i)

refile the pleading, paper, or document in case number 21-30085 within 3 business days of the




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Order Directing Joint Administration of Chapter 11 Cases                                Page 3
   Case 21-30085-hdh11 Doc 32-1 Filed 01/20/21                                   Entered 01/20/21 12:54:31   Page 5 of 5




entry of this order, (ii) set the pleading, paper, or document for hearing before the judge assigned

to case number 21-30085, and (iii) notice the hearing to all appropriate parties

           7.     That counsel for Debtors shall serve a copy of this order on the United States

Trustee, all creditors, persons filing Notices of Appearance, and other parties-in-interest, and

shall file a certificate of service with the Clerk of Court after completing service.

           8.     Counsel for Debtors shall file with the Clerk, in case number 21-30085, a master

service list of all creditors, persons filing Notices of Appearance, and all parties-in-interest in the

jointly administered cases, in the form prescribed by Local Bankruptcy Rule 1007-1.

           9.     The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order.

           710.   The Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation and enforcement of this Order.

                                    # # # END OF ORDER # # #




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Order Directing Joint Administration of Chapter 11 Cases                                Page 4
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